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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. 19-20822-CR-WILLIAMS/TORRES



  UNITED STATES OF AMERICA            )
                                      )
                                      )
                                      )
  v.                                  )
                                      )
                                      )
  JESUS MANUEL MENOCAL, JR.,          )
                                      )
        Defendant.                    )
  ____________________________________)


                        GOVERNMENT’S SEVENTH RESPONSE TO
                          THE STANDING DISCOVERY ORDER

         The United States hereby files this second response to the Standing Discovery Order. This

  response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is

  numbered to correspond with Local Rule 88.10.

         A.     1.     Statements by the defendant that are potentially protected by Garrity v. New
                       Jersey, 385 U.S. 493 (1967), and the defendant’s proffer to the Miami-Dade
                       State Attorney’s Office, were provided to defense counsel under separate
                       cover via FedEx sent on December 20, 2019. These materials were
                       provided to the defendant by the government taint team and the prosecution
                       team has not been exposed to these statements. The defendant again is
                       reminded that his use of this information in a manner that exposes it to the
                       public and/or the prosecution team will be considered to be a voluntary
                       waiver of any potential Garrity protections.

                2.     Please find a copy of other statements by the defendant on the flash drive
                       shipped on April 29, 2021 and via email dated June 8, 2021. Please note
                       that these statements were not made in response to interrogation by law
                       enforcement. One statement previously provided, a note from the
                       defendant’s iCloud account, is reproduced here with an individual Bates
                       stamp for ease of identification.

                3.     The defendant did not testify before the Grand Jury.

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              4.    A copy of the defendant’s NCIC record was previously provided.

              5.    Except as provided in Fed. R. Crim. P. 16(a)(2), books, papers, documents,
                    data, photographs, tangible objects, buildings or places, which the
                    government intends to use as evidence at trial to prove its case in chief, or
                    which were obtained from or belong to the defendant, may be inspected at
                    a mutually convenient time at: the FBI office (2030 SW 145 Ave. Miramar,
                    FL). This includes the contents of eight boxes of Det. Rosalyn Byrd’s files,
                    which the government obtained from the Hialeah Police Department, and
                    which the government does not currently intend to use as evidence at trial
                    to prove its case in chief. The government will notify defense counsel
                    should its position change regarding any or all of the materials contained in
                    these eight boxes. Please call the undersigned to set up a date and time that
                    is convenient to both parties. Additionally, the contents of certain electronic
                    storage media in the possession of the government have been copied onto
                    the enclosed external hard drive defense counsel previously provided to the
                    government.

                    The attachments to this discovery response are not necessarily copies of all
                    the books, papers, documents, data, etc., that the government may intend to
                    introduce at trial.

              6.    In June 2015, the Hialeah Police Department processed three sergeants’
                    offices in Substation 5, a pair of handcuffs, and the defendant’s Ford F-150
                    for DNA evidence. They submitted samples from those locations to the
                    Miami-Dade Police Department Crime Laboratory, along with DNA
                    profiles of the defendant and four females. Portions of the wall and door
                    handles in the sergeants’ offices in Substation 5 were also processed for
                    latent prints. The Miami-Dade Police Department Crime Laboratory and
                    Hialeah Police Department’s findings and reports with respect to the
                    analysis were previously provided to the defense.

                    There were no other physical or mental examinations or scientific tests or
                    experiments made in connection with this case.

        B.          DEMAND FOR RECIPROCAL DISCOVERY: Pursuant to the Standing
                    Discovery Order, the United States once again requests the disclosure and
                    production of materials listed in Section (b) of Local Rule 88.10. This
                    request is also made pursuant to Rule 16(b) of the Federal Rules of Criminal
                    Procedure. To date, the defendant has produced one page of discovery,
                    provided to the government on July 7, 2020, by the defendant’s prior
                    counsel.

        C.          The government will disclose any information or material which may be
                    favorable on the issues of guilt or punishment within the scope of Brady v.

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                    Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97
                    (1976).

        D.          The government will disclose any payments, promises of immunity,
                    leniency, preferential treatment, or other inducements made to prospective
                    government witnesses, within the scope of Giglio v. United States, 405 U.S.
                    150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

                    Additionally, the government is aware that Victim 1 has filed a civil action
                    against the defendant and the City of Hialeah, and is represented in that
                    matter. The government has provided the name and contact information for
                    Victim 1’s new attorney under separate cover. That matter remains pending
                    in U.S. District Court in this district.

        E.          The government will disclose any prior convictions of any alleged co-
                    conspirator, accomplice or informant who will testify for the government at
                    trial. Criminal history documents, including NCIC and CJIS reports,
                    complaint/arrest affidavits, and offense/incident reports, for potential
                    witnesses who may testify for the government are enclosed.

        F.          The defendant was identified in six-person photo arrays. Copies of the
                    photo arrays were previously provided. The defendant was also identified
                    during FBI interviews in photographs, copies of which are attached and
                    previously provided. The defendant was also identified in a Hialeah Police
                    Department photo album.

        G.          The government has advised its agents and officers involved in this case to
                    preserve all rough notes.

        H.          The government has timely advised the defendant of its intent to introduce
                    during its case in chief proof of evidence pursuant to F.R.E. 404(b), has
                    updated this notice, and will continue to timely update this notice as
                    appropriate. You are hereby on notice that all evidence made available to
                    you for inspection, as well as all statements disclosed herein or in any future
                    discovery letter, may be offered in the trial of this cause, under F.R.E.
                    404(b) or otherwise (including the inextricably-intertwined doctrine).

        I.          The defendant is not an aggrieved person, as defined in Title 18, United
                    States Code, Section 2510(11), of any electronic surveillance.

        J.          The government has ordered transcribed the Grand Jury testimony of all
                    witnesses who will testify for the government at the trial of this cause.

        K.          No controlled substance is involved in this indictment.

        L.          The government does not know of any automobile, vessel, or aircraft

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                        allegedly used in the commission of this offense that is in the government's
                        possession. The vehicles used by the defendant in connection with these
                        incidents were Hialeah Police Department vehicles.

         M.             The government is not aware of any latent fingerprints or palm prints which
                        have been identified by a government expert as those of the defendant. As
                        noted in A.6 above, the results of the fingerprint comparisons done in this
                        case previously were provided.

         N.             The government will make every possible effort in good faith to stipulate to
                        all facts or points of law the truth and existence of which is not contested
                        and the early resolution of which will expedite trial. These stipulations will
                        be discussed on a continuing basis during the time leading up to trial. To
                        facilitate the process of reaching stipulations as to evidence and issues, the
                        government has recently provided the defense with drafts of its case in chief
                        witness and exhibit lists.

         O.             The government is available for a pretrial discovery conference as required
                        by the Rule 16.1 of the Federal Rules of Criminal Procedure and Local Rule
                        88.10(o), albeit subject to the limitations arising from the ongoing public
                        health emergency as reflected in the various Southern District of Florida
                        Administrative Orders issued in response thereto. While the government
                        and defense counsel have already discussed a timetable and procedures for
                        pretrial discovery via email, and the government has provided the defendant
                        with drafts of its case in chief witness and exhibits lists, should defense
                        counsel wish to discuss these matters further or in person, please contact the
                        undersigned with dates that defense counsel are available.

         The government is aware of its continuing duty to disclose such newly discovered
  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules
  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

          The attachments to this response are contained on a DVD shipped to counsel on February
  24, 2022. The DVD contains documents labeled US0198806 – US0199128. A detailed index
  reflecting the contents of DVD has been sent to counsel.

                                                       Respectfully submitted,


         JUAN ANTONIO GONZALEZ                         KRISTEN CLARKE
         UNITED STATES ATTORNEY                        ASSISTANT ATTORNEY GENERAL

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         EDWARD N. STAMM                               KYLE BOYNTON
         FL Bar No. 373826                             Court ID No. A5502813
         Assistant United States Attorney              Trial Attorney

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